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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


BCBSM, INC., d/b/a/ BLUE CROSS
AND BLUE SHIELD OF MINNESOTA,
a Minnesota nonprofit corporation, on
behalf of itself and its self-insured groups,           Case No. 22-CV-513 (ECT/DTS)

               Plaintiff and Counterclaim
               Defendant,
                                                       AMENDED ERISA
        v.                                             RULE 26(F) REPORT

GS LABS, LLC, a Nebraska limited liability
company,

               Defendant and
               Counterclaim Plaintiff.


       The parties/counsel identified below conferred as required by Fed. R. Civ. P.
26(f) and the Local Rules on June 21, 2022, and prepared the following report. The
parties/counsel then met and conferred via correspondence during the week of August
1, 2022, in advance of the rescheduled August 9, 2022 conference.

      The initial pretrial conference required under Fed. R. Civ. P. 16 and LR 16.2 is
scheduled for August 9, 2022, at 11:00 a.m. before United States Magistrate Judge
David T. Schultz in Courtroom 9E, United States Courthouse, 300 South Fourth Street,
Minneapolis, Minnesota.

       Counsel have reviewed the amendments to the Federal Rules of Civil Procedure
effective December 1, 2015 and are familiar with the amendments.

                              TRIAL BY MAGISTRATE JUDGE

        28 U.S.C. § 636(c) permits parties to consent to the jurisdiction of the
magistrate judge for all pre-trial and trial proceedings. Parties who consent to the
magistrate judge do not waive their right to a jury trial or their right to appeal directly
to the Eighth Circuit from any judgment that is entered. They will also retain the ability
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to engage in a settlement conference presided over by a magistrate judge in this
district. If the parties consent and to the magistrate judge they may request a date
certain for trial set at the Rule 16 conference, and a date certain for trial will be set at
that time.

      The parties do not consent to jurisdiction of the magistrate pursuant to 28
U.S.C. § 636(c).

       The parties do wish to receive a date certain for trial at the Rule 16(a) conference.

                               DESCRIPTION OF THE CASE

       1.     Concise factual summary of Plaintiff’s claims:

              Plaintiff BCBSM, Inc. (“Blue Cross”) offers health plans, and Defendant GS
              Labs, LLC (“GS Labs”) provides COVID-19 diagnostic testing. Blue Cross
              intends to prove that GS Labs engaged in unfair and deceptive practices
              relating to its COVID-19 testing, and submitted false and misleading claims
              for reimbursement to Blue Cross. Specifically, GS Labs represented to Blue
              Cross that the amount it billed to Blue Cross was its “cash price,” and
              therefore the CARES Act required Blue Cross to pay the entire amount, when
              in fact GS Labs’ billed amount was not its true “cash price.” GS Labs’ billed
              rates were up to ten times higher than those charged by other labs. GS Labs
              also submitted claims with false information concerning the circumstances
              under which it performed certain testing. And GS Labs systematically
              administered multiple tests in medically unjustifiable combinations to
              patients to increase the amount it billed to Blue Cross.

              Blue Cross brings this action against GS Labs seeking relief under the
              Minnesota Consumer Fraud Act (MCFA), the Minnesota Uniform Deceptive
              Trade Practices Act (MDTPA), the Employee Retirement Income Security
              Act of 1974 (ERISA). Blue Cross also seeks relief under common law claims
              of fraud and unjust enrichment. Finally, Blue Cross seeks relief under the
              Declaratory Judgment Act, as GS Labs has threatened legal action against
              Blue Cross concerning its refusal to pay GS Labs’ exorbitant prices and
              claims tainted by GS Labs’ unlawful conduct.

       2.     Concise factual summary of Counterclaim Plaintiff and Defendant’s
              claims/defenses:

              GS Labs denies Blue Cross’ allegations and asserts counterclaims. GS Labs
              seeks full reimbursement for the publicly-posted cash price of life-saving
              COVID-19 diagnostic testing that GS Labs provided (without requiring

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     prepayment) to over 200,000 of insureds of Blue Cross, in response to the
     federally-established policy and law enacted to address the crippling
     worldwide pandemic, which has claimed over 1,000,000 American lives.
     Despite GS Labs’ repeated demands for reimbursement, Blue Cross has
     willfully refused to fully reimburse GS Labs the statutorily-required price
     advanced by GS Labs as a credit in Blue Cross’ benefit for testing Blue
     Cross’ insureds for COVID-19.

     Furthermore, Blue Cross has violated various statutes and is liable to GS
     Labs for its willful misconduct. Among other things, GS Labs alleges
     counterclaims for price fixing in violation of the antitrust laws, attempted
     monopolization, deceptive trade practices, consumer fraud, false advertising,
     tortious interference (both with prospective economic advantage and
     contract), violation of ERISA, and more. GS Labs’ compensatory damages
     exceed $70 million (only taking into account the outstanding balance of
     unpaid claims for COVID-19 diagnostic testing).

     GS Labs seeks a money judgment in its favor for the full reimbursement Blue
     Cross owes GS Labs, totaling over $70 million dollars, and which increases
     each day. GS Labs also seeks injunctive relief, damages, penalties, treble
     damages, and exemplary damages against Blue Cross. And GS Labs seeks
     punitive damages due to Blue Cross’ deliberate disregard of the law and the
     rights and safety of others and the public health.

3.   Statement of jurisdiction (including statutory citations):

     Subject matter jurisdiction:

     This Court has subject matter jurisdiction over this action under 15 U.S.C. § 4
     because GS Labs asserts antitrust claims under the Sherman Act, and Congress
     has vested exclusive jurisdiction in the United States District Courts to prevent
     and restrain violations of the federal antitrust laws.

     This Court has subject matter jurisdiction over this action under 28 U.S.C. §
     1332 because there is a complete diversity of citizenship between Blue Cross
     and GS Labs and the amount in controversy exceeds $75,000.

     This Court also has subject matter jurisdiction over this action under 28 U.S.C.
     § 1331 because it arises under the Constitution, laws, or treatises of the United
     States. Specifically, Blue Cross asserts a claim under ERISA, 29 U.S.C. §§
     1001, et seq. Blue Cross alleges it has standing to bring its ERISA claims as a
     claims fiduciary on behalf of its own employee benefit plan, its fully insured
     employer plans, and for the self-funded health plans it administers.

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     Further, this Court has subject matter jurisdiction over Blue Cross’ and GS
     Labs’ supplemental state and common law claims under 28 U.S.C. § 1367
     because those claims are so related to the federal claims alleged by both parties
     that they form part of the same case or controversy.

     Personal jurisdiction:

     This Court has personal jurisdiction over GS Labs because this case arises out
     of activities GS Labs conducted in, and directed toward, Minnesota. In
     particular, it arises out of COVID-19 testing that GS Labs performed on
     Minnesota residents at testing sites it maintains in Minnesota, and out of
     insurance claims GS Labs submitted to Blue Cross in Minnesota related to that
     testing. The counterclaims in this case also arise out of activities Blue Cross
     had conducted in, and directed toward, Minnesota.

4.   Summary of factual stipulations or agreements:

        a. GS Labs is a Nebraska-based laboratory system founded in January
           2020 and provides COVID-19 diagnostic testing at sites in Minnesota,
           Iowa, Nebraska, Oregon, and Washington. GS Labs operates COVID-
           19 diagnostic testing clinics in Minnesota, including in Blaine,
           Shakopee, and Eagan.

        b. Blue Cross is a Minnesota nonprofit corporation, with its principal
           place of business in Dakota County, Minnesota.

        c. GS Labs offers COVID-19 diagnostic testing that falls within
           categories commonly referred to as rapid antigen and PCR testing. It
           previously offered COVID-19 diagnostic testing that falls within
           categories commonly referred to as rapid antibody and large-panel
           PCR testing, but currently no longer offers those tests.

        d. GS Labs’ clinics serve high volumes of patients with short
           appointments, with each clinic able to accommodate upwards of up to
           1,000 patients a day. Many patients remain in their cars throughout
           their appointment, and in many instances, nurses obtain samples for
           COVID-19 diagnostic testing through the car window.

        e. GS Labs accepts commercial insurance and does not accept
           government-funded insurance other than the Federal Employee Plan.

        f. GS Labs has submitted more than 190,000 claims for COVID-19

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                testing to Blue Cross. Among those claims are claims for COVID-19
                diagnostic testing that falls within categories commonly referred to as
                antibody testing and large-panel testing.

            g. Blue Cross has paid partial reimbursement to GS Labs, but Blue Cross
               has not fully reimbursed GS Labs for COVID-19 testing.

            h. GS Labs contends it is entitled to payment of millions of dollars more
               on its claims for reimbursement from Blue Cross that remain pending.


5.       Statement of whether a jury trial has been timely demanded by any party:

         Both parties have timely demanded a jury trial.

6.       Statements as to whether the parties agree to resolve the matter under the
         Rules of Procedure for Expedited Trials of the United States District
         Court, District of Minnesota, if applicable:

         The parties do not agree to resolve this matter under the Rules of
         Procedure for Expedited Trials of the United States District Court,
         District of Minnesota.

                                    PLEADINGS

Statement as to whether all process has been served, all pleadings filed and any
plan for any party to amend pleadings or add additional parties to the action:

All process has been served. All pleadings (Complaint and GS Labs’ Answer and
Counterclaims) have been filed. Blue Cross intends to file a motion to dismiss
on August 9, 2022. The parties do not currently anticipate further amending their
pleadings or adding additional parties to the action, but reserve all rights to move
to do so by the agreed-upon date specified below (March 15, 2023).

                                FACT DISCOVERY

The parties request the Court to establish the following fact discovery deadlines
and limitations:

1.       The parties served their initial disclosures under Fed. R. Civ. P. 26(a)(1) on
         July 15, 2022.

2.       The parties do not anticipate conducting any physical or mental

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     examinations under Fed. R. Civ. P. 35.

3.   The parties must commence fact discovery procedures in time to be
     completed by July 14, 2023 (excluding expert discovery) and by
     November 22, 2023 for expert discovery.

     a. The identification of any expert who may testify at trial regarding issues
        on which the party has the burden of persuasion, along with the initial
        expert written report(s) completed in accordance with Fed. R. Civ. P.
        26(a)(2)(B), must be served on or before September 6, 2023.

     b. The identification of any experts who may testify in rebuttal to any initial
        expert, along with the rebuttal expert written report(s) completed in
        accordance with Fed. R. Civ. P. 26(a)(2)(B), must be served on or before
        October 18, 2023.


4.   The parties have discussed the scope of discovery, including relevance
     and proportionality, and propose that the Court limit the use and
     numbers of discovery procedures as follows:

     a.     Interrogatories
             •      Blue Cross proposes: 25 interrogatories per side, which is
                    consistent with the default limit established in Fed. R. Civ.
                    P. 33(a);
             •      GS Labs proposes: 50 interrogatories per side, given the
                    large number of issues, claims, and defenses in this case;

     b.     No limit in document requests, which is consistent with the default
            rule established in Fed. R. Civ. P. 34;

     c.     No limit in requests for admission, which is consistent with the
            default rule established in Fed. R. Civ. P. 36. The parties will
            discuss a protocol for the authentication of documents.

     d.     Depositions
             •     Blue Cross proposes: 10 factual depositions (excluding
                   experts) per side, which is consistent with the default rule
                   established in Fed. R. Civ. P. 30(a);
             •     GS Labs proposes: 25 factual depositions (excluding
                   experts) per side, given the large number of issues, claims,
                   and defenses in this case;


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     e.    No limit in Rule 35 medical examinations, which is consistent with
           the default rule established in Fed. R. Civ. P. 35 (although the parties
           do not anticipate needing to conduct such examinations); and

     f.    The parties have discussed the topic of Rule 30(b)(6)
           deposition practice and have made the following agreements:

           The parties do not presently seek a variance from the terms of
           the Federal Rules of Civil Procedure with respect to noticing
           and conducting depositions of 30(b)(6) witnesses. The parties,
           however, reserve the right to modify the default rules by
           stipulation or motion and court order as the need arises.

                     OTHER DISCOVERY ISSUES

1.   Protective Order

     The parties have discussed whether they believe that a protective order
     is necessary to govern discovery and will jointly submit a proposed
     HIPAA-qualified protective order. Local Rule 5.6 governs filing under
     seal. Therefore, any proposed protective order must include the
     following provisions: All counsel acknowledge they have reviewed
     Local Rule 5.6 which governs filing under seal, which procedures are
     incorporated herein by reference.

2.   Discovery of Electronically-Stored Information

     The parties have discussed the scope of electronic discovery, including
     relevance and proportionality, and any issues about preserving
     electronic discovery. The parties have also discussed the form or forms
     in which electronic discovery should be produced. They inform the
     Court of the following agreements or issues:



     The parties are in the process of proposing an ESI Agreement, which the
     parties will jointly submit for the Court’s consideration or otherwise
     present any disputes to the Court by August 26, 2022.


3.   Claims of Privilege or Protection

     The parties have discussed issues regarding the protection of

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       information by a privilege or the work-product doctrine, as required
       by Fed. R. Civ. P. 26(f)(3)(D), including whether the parties agree to a
       procedure to assert these claims after production or have any other
       agreements under Fed. R. Evidence 502, and will include their
       agreement in a proposed Stipulated Protective Order.

                            MOTION SCHEDULE

The parties proposed the following deadlines for filing motions:

1.     Motions seeking to join other parties must be filed and served by
       March 15, 2023.

2.     Motions seeking to amend the pleadings must be filed and served by
       March 15, 2023.

3.     Non-Dispositive Motions

       a.     All non-dispositive motions relating to fact discovery must be
              filed and served by July 14, 2023.

       b.     All other non-dispositive motions, including motions relating to
              expert discovery, must be filed and served by December 8, 2023.

       4.     Dispositive Motions: All dispositive motions must be served and
              filed by February 16, 2024.

                                     TRIAL

1.     The parties agree that the case will be ready for trial on or after
       June 1, 2024.

2.     The anticipated length of the jury trial is 10-15 days.

                INSURANCE CARRIERS/INDEMNITORS

List all insurance carriers/indemnitors, including limits of coverage of each
defendant or statement that the Defendant is self-insured: Not applicable at this
time.




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                               SETTLEMENT

The parties have discussed settlement before or at the Rule 26(f) meet-and-
confer and each party will e-mail a confidential letter setting forth what
settlement discussions have taken place and whether the parties believe an early
settlement conference would be productive.




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Dated: August 5, 2022          WINTHROP & WEINSTINE, P.A.

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